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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                           Case No.: 1:21-CV-20684-BLOOM/Otazo-Reyes

  JOHN PAUL MAC ISAAC,

                          Plaintiff,

          v.


  TWITTER, INC., et.al.,

                          Defendants.
                                            /

                                         AMENDED
                                 COMPLAINT FOR DEFAMATION

          COMES NOW, PLAINTIFF JOHN PAUL MAC ISAAC (hereinafter, “Plaintiff”), by and

  through undersigned counsel hereby sues DEFENDANTS, MADBITLS, LLC and TWITTER,

  INC. for defamation for making false and damaging statements and alleges as follows:

                               A. PARTIES, JURISDICTION & VENUE

          1.      This is an action for Defamation (Libel Per Se) and damages in excess of seventy-

  five thousand and 00/100 dollars ($75,000.00).

          2.      This court has diversity jurisdiction over this matter pursuant to 28 U.S.C. §1332(a).

          3.      Plaintiff JOHN PAUL MAC ISAAC (“Plaintiff”) is an individual over the age of 18

  who is sui juris, resides in, and is a citizen of Lakewood, Colorado.

          4.      Defendant MADBITS, LLC (hereinafter, “Defendant MADBITS”) is a Limited

  Liability Company organized under the laws of the State of Florida with its principal place of

  business at 1355 Market Street Ste 900, San Francisco, CA 94103. The Articles of Organization for

  Defendant MADBITS, LLC filed with the Florida Division of Corporations “Sunbiz” website on



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  November 30, 2012, is attached as EXHIBIT A. The 2020 Annual Report for Defendant

  MADBITS, LLC showing its primary place of business is attached hereto as EXHIBIT B.

         5.      Defendant TWITTER, INC. (“Defendant TWITTER”) is a Corporation

  incorporated under the laws of the State of Delaware with its principal place of business in 1355

  Market Street Ste 900, San Francisco, CA 94103. A copy of the incorporation documents from the

  Delaware Secretary of State is attached hereto as EXHIBIT C.

         6.      General jurisdiction over Defendant MADBITS is proper as MADBITS is “at

  home” in Florida, is a Florida limited liability company, upon information and belief, employs

  Florida residents, and performs substantial commercial activities with residents in the State of

  Florida. A copy of the Dun and Bradstreet Report on Defendant MADBITS is attached hereto as

  EXHIBIT D.

         7.      Personal jurisdiction over Defendant MADBITS is proper as per Florida Statute

  §48.193(1)(a)(1) due to the fact that Defendant MADBITS is a Florida limited liability company,

  upon information and belief, employs Florida residents, and performs substantial commercial

  activities with residents in the State of Florida. See EXHIBIT D.

         8.      General jurisdiction over Defendant TWITTER is proper as Defendant TWITTER

  is registered as a foreign entity authorized to do business in the State of Florida, upon information

  and belief, employs Florida residents, and performs substantial commercial activities with residents

  in the State of Florida. A copy of Defendant TWITTER’s authorization to do business in the State

  of Florida attached hereto as EXHIBIT E.

         9.      Personal jurisdiction over Defendant TWITTER is proper as per Florida Statute

  §48.193(1)(a)(1) due to the fact that Defendant TWITTER is registered to do business in the State

  of Florida, has maintained an office in Florida since 2015 (see disclosure on EXHIBIT E), upon




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  information and belief, employs Florida residents, and performs substantial commercial activities

  with residents in the State of Florida.

          10.     Personal jurisdiction over Defendant TWITTER is proper as per Florida Statute

  §48.193(1)(a)(2) due to the fact that Defendant TWITTER posted defamatory materials concerning

  the Plaintiff on their website and through their mobile app, which materials were accessed in

  Florida, constituting the tortious act of defamation. Defendant TWITTER has committed

  intentional torts aimed at Plaintiff, the effects of which were suffered in Florida. Copies of internet

  posts showing access by Florida residents referring directly to Defendant TWITTER’s actions are

  attached hereto as follows:

                  a.      Florida Resident and Twitter user “Celeta Quinn”, attached hereto as

                  EXHIBIT F.

                  b.      Florida Resident and Twitter user “Linda Norway”, attached hereto as

                  EXHIBIT G.

                  c.      Florida Resident and Facebook user “Fred Barnard”, attached hereto as

                  EXHIBIT H.

                  d.      Florida Resident and Facebook user “Susie Turner Kilpatrick”, attached

                  hereto EXHIBIT I.

                  e.      Florida Resident and Facebook user “Toby Kennedy”, attached hereto as

                  EXHIBIT J.

          11.     Personal jurisdiction over Defendant TWITTER is proper as per Florida Statute

  §48.193(1)(a)(6)(a) due to the fact that Defendant TWITTER caused injury to Plaintiff with its

  defamatory materials while Defendant TWITTER was engaged in the solicitation and service of

  Florida residents, by means of advertising and otherwise, within the state of Florida. Defendant

  TWITTER reached beyond the borders of its state of incorporation and/or principal place of

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  business into Florida to conduct business and enter into contracts with residents of Florida that

  involve the knowing and repeated transmission of computer files over the internet. Copies of

  webpages from Defendant TWITTER showing that Defendant TWITTER’s social media platform

  allows users to directly target paid advertising to Florida residents and accepts payment for doing so

  are attached hereto as EXHIBIT K.

          12.     General and personal jurisdiction over Defendant TWITTER is also proper as

  Defendant MADBITS is the alter ego of Defendant TWITTER and, as such, all contacts and

  activities of Defendant MADBITS are imputed to Defendant TWITTER for jurisdictional purposes.

          13.     Based on their intentional torts, office space, commercial activities, solicitations, and

  service in the State, Defendants should have reasonably anticipated being hailed into this Court, and

  therefore its Due Process has been observed and satisfied.

          14.     Venue is proper in this District as, upon information and belief, Defendant

  TWITTER maintains an office at 78 SW 7th Street, Miami, Florida 33130.

          15.     All conditions precedent to this action have been performed. Specifically, although

  not actually required to do so, Plaintiff provided Defendants with pre-suit notice pursuant to Florida

  Statute §770.01, et seq, copies of which is attached hereto as EXHIBIT L.

                                        B. STATEMENT OF CASE

          16.     Plaintiff incorporates by reference all allegations contained in Paragraphs 1 – 15.

          17.     Plaintiff is a private citizen who currently resides in Lakewood, Colorado and is a

  citizen of the State of Colorado.

          18.     Plaintiff owned a small business named The Mac Shop, Inc. (the “Mac Shop”) which

  was a Delaware corporation.

          19.     Plaintiff was in the business of repairing Mac computers.




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          20.     Plaintiff is not and never has been a user/subscriber of the social media platform

  owned and operated by Defendant TWITTER.

          21.     Defendant MADBITS is a single-member limited liability company wholly owned by

  Defendant TWITTER. Defendant MADBITS has no website of its own, lists the offices of

  Defendant TWITTER as its principal office, and the Secretary of Defendant MADBITS, as listed

  with the Florida Division of Corporations, is Vijaya Gadde, the “Legal, Policy and Trust & Safety

  Lead @Twitter.” Upon information and belief, Defendant TWITTER makes all financial decisions

  for Defendant MADBITS. See EXHIBIT B. A copy of the Twitter page of Vijaya Gadde is attached

  hereto as EXHIBIT M.

          22.     Upon information and belief, Defendant MADBITS is wholly controlled by

  Defendant TWITTER, to the point where Defendant MADBITS filed “Articles of Dissolution”

  with the Florida Secretary of State on January 13, 2015, listing as the “occurrence that resulted in the

  limited liability company’s dissolution” that “LLC GOT ACQUIRED BY A PUBLIC COMPANY

  IN JULY 28, 2014. NO LONGER EXISTS AS SEPARATE ENTITY.” A copy of said Articles of

  Dissolution is attached hereto as EXHIBIT N. Defendant MADBITS filed a Statement of

  Revocation of Dissolution on February 1, 2015, a copy of which is attached hereto as EXHIBIT O.

          23.     It is Plaintiff’s belief that Defendant MADBITS exists solely as Defendant

  TWITTER’s alter ego in the State of Florida.

          24.     Defendant TWITTER is a company that developed and maintains a social media

  platform used by more than 340 million people worldwide, 78 million of whom purportedly reside

  in the United States of America. Twitter Demographics as of October 28, 2020 from

  www.omnicoreagency.com attached as EXHIBIT P.




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          25.        On or about April 12, 2019, Plaintiff was asked to recover information from

  damaged Mac computers allegedly owned by Mr. Hunter Biden (“BIDEN”). Copy of Repair

  Authorization attached as EXHIBIT Q.

          26.        On or about April 13, 2019, at Plaintiff’s request, BIDEN returned to the Mac Shop

  with a Western Digital external hard drive to which Plaintiff could transfer the recovered data.

          27.        Later that same day, on or about April 13, 2019, Plaintiff completed the recovery and

  called BIDEN to notify him of such and to request that he retrieve his recovered data.

          28.        On or about April 17, 2019, Plaintiff sent an electronic invoice to BIDEN in the

  amount of $85.00. Copy of electronic invoice attached as EXHIBIT R.

          29.        Plaintiff attempted to contact BIDEN at least one more time thereafter to request

  that he pay his invoice and retrieve his recovered data.

          30.        BIDEN never returned to the Mac Shop to retrieve his recovered data nor did he

  pay his invoice.

          31.        Pursuant to the terms of the Repair Authorization signed by BIDEN, “[e]quipment

  left with the Mac Shop after 90 days of notification of completed service will be treated as

  abandoned and you agree to hold the Mac Shop harmless for any damage or loss of property.” See

  EXHIBIT Q.

          32.        Starting in late July 2019 to October 14, 2020, Plaintiff had multiple interactions with

  the Federal Bureau of Investigation (the “FBI”), U.S. Congressional staff members, and Mr. Robert

  Costello, Esquire (“COSTELLO”), attorney for Rudolph Giuliani, Esquire (“GIULIANI”).

          33.        On or about December 9, 2019, the FBI served a federal grand jury subpoena on

  Plaintiff requiring he turn over the laptop and hard drive, which Plaintiff did on that day. Copy of

  subpoena attached as EXHIBIT S.




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           34.      In August 2020, Plaintiff connected with COSTELLO to whom he provided a copy

  of the recovered data.

           35.      Plaintiff specifically asked COSTELLO to not identify him when discussing the

  recovered data with GIULIANI as Plaintiff desired to remain anonymous.

           36.      Plaintiff never spoke with GIULIANI but was assured by COSTELLO that he had

  conveyed Plaintiff’s wish to remain anonymous to GIULIANI.

           37.      After August 26, 2020 but prior to October 14, 2020, upon information and belief,

  GIULIANI provided information from the recovered data to the New York Post newspaper (“NY

  POST”).

           38.      On October 13, 2020, Plaintiff received a call from Mr. George Mesires,1 identifying

  himself as BIDEN’s attorney, asking if Plaintiff still had possession of his client’s laptop and

  following up thereafter with an email to the Plaintiff. See copy of follow-up email from Mr. Mesires

  to Plaintiff attached as EXHIBIT T.

           39.      On October 14, 2020, at approximately 5:00 AM, the NY POST published an

  exposé about the contents of BIDEN’s recovered data. Shortly thereafter, the NY Post “updated”

  the online version of the exposé. A copy of updated NY POST exposé, as it currently appears on

  the NY Post website, is attached as EXHIBIT U.

           40.      Plaintiff was not involved in the disclosure of the recovered data to the NY POST,

  did not promote the disclosure in any way, nor did the Plaintiff authorize the disclosure.

           41.      While Plaintiff verified how he came into possession of the recovered data to the

  NY POST, Plaintiff was unaware of the details of the NY POST exposé, when the NY POST




  1 George Mesires is a partner in the Chicago office of Faegre Drinker Biddle & Reath LLP.




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  exposé was going to be published, and Plaintiff explicitly told the NY POST that he did not want to

  be identified.

           42.       Plaintiff did not authorize the disclosure of his identity by GIULIANI, COSTELLO,

  or the NY POST, did not authorize the disclosure of the information, nor was he involved in any

  determinations or strategy regarding the disclosure of the information.

           43.       Plaintiff was not explicitly identified in the NY POST exposé but was, instead,

  referred to as the Delaware computer repair shop “store’s owner.”

           44.       NY POST, as part of its exposé and without the consent of Plaintiff, published a

  photo of the Repair Authorization identified in EXHIBIT Q without blurring the business name

  thereby notifying the public where BIDEN had dropped off his laptop. Copies of archive version of

  NY Post exposé and source codes showing original picture compared with source codes showing

  current version of picture attached as Composite EXHIBIT V.2

           45.       Also on October 14, 2020, as a result of the NY POST’s mistaken disclosure,

  Plaintiff’s identity was revealed by media outlets, including writers from the Daily Beast purportedly

  investigating the NY POST exposé. Copy of Daily Beast article about Plaintiff attached as

  EXHIBIT W.3

           46.       In an attempt to clarify the inaccuracies about the Plaintiff published in the article by

  the Daily Beast, Plaintiff’s counsel wrote a statement and approached media outlets with that




  2 As Plaintiff files this Amended Complaint without the benefit of being permitted third party discovery, for purposes of

  informing the Court of the materials contained in the original NY Post exposé the Plaintiff includes in Composite
  Exhibit Q, a collection of documents proving that the article banned by Defendant directly and ascertainably identified
  Plaintiff.

  3 The Daily Beast article was the result of Plaintiff being accosted by a group of journalists asking him questions about

  his involvement in the NY Post exposé. Plaintiff, concerned about his and his family’s wellbeing, attempted to respond
  in ways that would protect them but, not having ever been the subject of media inquiry, his responses come across as
  confused and contradictory. In fact, his seemingly confused and contradictory statements were made as a result of his
  inexperience with the media and his lifelong status as a private figure.


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  statement. The Wall Street Journal did not return communications from Plaintiff’s counsel and the

  Washington Post responded that they do not think it “would be a good fit” for the news

  organization. Copy of clarifying statement by Plaintiff’s counsel attached as EXHIBIT X and email

  from Washington Post attached as EXHIBIT Y.

          47.        On October 14, 2020, Defendant locked the NY POST’s account as the NY POST

  attempted to post and disseminate its exposé on the social media platform owned and operated by

  Defendant.

          48.        In addition to locking the NY POST’s account, Defendant TWITTER published a

  statement that it was blocking dissemination of the NY POST’s story because it violated Defendant

  TWITTER’s rules against “distribution of hacked material.”4 Notifications by Defendant TWITTER

  directly related to the NY POST story attached as EXHIBIT Z.

          49.        Defendant TWITTER published its statement to a third-party, the New York Post.

  See EXHIBIT Z.

          50.        Further actions taken by Defendant TWITTER in response to the NY POST’s

  exposé included limiting the distribution of the exposé by others on its social media platform while


  4 Specifically, the Defendant TWITTER’s statement said:


                a.   “YOUR ACCOUNT HAS BEEN LOCKED.
                      What happened?

                     Violating our rules against distribution of hacked materials.

                     We don’t permit the use of services to directly distribute content obtained through hacking that
                     contains private information, may put people in physical harm or danger, or contains trade secrets.”

                b. “We want to provide much needed clarity around the actions we’ve taken this morning with respect to
                two NY Post articles that were first tweeted this morning.”

                c. “The images contained in the articles include personal and private information – like email address
                and phone numbers – which violate our rules.”

                d. “As noted this morning, we also currently view materials included in the articles as violations of our
                Hacked Materials Policy. We don’t condone attempts to compromise or infiltrate computer systems for
                malicious purposes.” (emphasis added)

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  notifying its worldwide users that the material contained in the NY POST exposé is in violation of

  its “hacked materials policy” or as being “potentially harmful” thereby further spreading the belief

  among its users, upon information and belief, including Florida resident users, that the Plaintiff is a

  hacker. Copies of examples attached as EXHIBIT AA.

          51.     Defendant TWITTER also blocked the dissemination of the NY Post exposé

  notifying the third-party user that the “Tweet couldn’t be sent because this link has been identified

  by Twitter or our partners as being potentially harmful.” See example attached as EXHIBIT BB.

          52.     Defendant TWITTER continued to publish is false statements after Plaintiff had

  been identified as the source of the recovered data.

          53.     Defendant TWITTER’s publications to its third-party users were intended to be and

  actually were accessible to its users worldwide, including those users of its social media platform

  located in the State of Florida. See time of publication of Daily Beast article at EXHIBIT W (3:52

  PM ET) and time of publication of Defendant’s statement to users at EXHIBIT Z (7:44 PM ET).

          54.     Defendant TWITTER was and continues to be able to publish information on its

  platform that is accessible to a worldwide audience.

          55.     Plaintiff, on the other hand, was unable to utilize most members of the mainstream

  media sources to defend himself.

          56.     Defendant TWITTER’s Distribution of Hacked Materials Policy (“Hacked Materials

  Policy”) defines a “hack” as “an intrusion or access of a computer, network, or electronic device that

  was unauthorized or exceeded authorized access.” Copy of Defendant TWITTER’s Distribution of

  Hacked Material’s Policy attached as EXHIBIT CC.

          57.     The Hacked Materials Policy further defines “hacked materials” as “information

  obtained through a hack.” See EXHIBIT CC.




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         58.      Plaintiff was the individual who obtained the information published by the NY

  POST which was identified as “hacked material” by Defendant TWITTER.

         59.      Despite request, Defendant TWITTER has not issued a statement of any kind

  indicating that Defendant TWITTER does not believe Plaintiff is a hacker.

         60.      On November 17, 2020, during testimony before the United States Senate Judiciary

  Committee, the Chief Executive Officer of Defendant TWITTER, Mr. Jack Dorsey (“DORSEY”),

  made the following statements specifically relating to the Defendant TWITTER’s actions toward the

  NY POST’s account on its social media platform (Copy of Testimony attached as EXHIBIT DD):

               a. “We did an under our terms of service, which as you know, everyone agrees to when

                  they sign up for Twitter. This was a policy around distribution of hacked materials.

                  We did not want Twitter to be a distribution point for hacked materials.” See

                  Testimony at 55:55.

               b. “We realize that and we recognize [the suppression and labeling of the information]

                  as a mistake that we made both in terms of the intention of the policy and also the

                  enforcement action of not allowing people to share it publicly or privately, which is

                  why we corrected it within 24 hours.” See Testimony at 56:21.

               c. “It was a business decision.” See Testimony at 57:42.

               d. “Our policy was focused on distribution of the actual hack materials and the New

                  York Times…” See Testimony at 2:06:42.

               e. “And in the New York Times case, we interpreted as reporting about the hacked

                  materials, not distribution of [inaudible 02:06:58].” See Testimony at 2:06:51.

               f. “No. And that account is not suspended, it fell afoul of the hacked materials policy,

                  we realized that there was an error in that policy and the enforcement and we

                  corrected that within 24 hours.” See Testimony at 2:08:51.


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          61.     Defendant TWITTER’s actions and statements had the specific intent to

  communicate to its users, including, upon information and belief, its Florida resident users, that

  Plaintiff is a hacker and/or hacked the published materials.

          62.     The term “hacker” is widely viewed by people in society as disparaging and as a

  criminal act.

          63.     According to Merriam-Webster, a “hacker” is “a person who illegally gains access to

  and sometimes tampers with information in a computer system.”

          64.     Plaintiff is not a hacker and the information obtained from the computer does not

  constitute hacked materials because Plaintiff lawfully gained access to the computer, first with the

  permission of its owner, BIDEN, and then, after BIDEN failed to retrieve the recovered data

  despite Plaintiff’s requests, in accordance with the Mac Shop’s abandoned property policy.

          65.     Plaintiff, as a direct result of Defendant TWITTER’s actions and statements, is now

  widely considered a hacker and, beginning on the same day Defendant TWITTER categorized the

  Plaintiff as a hacker, Plaintiff began to receive negative reviews regarding his business practices as

  well as threats to his person and property. Yelp reviews and personal threats attached as EXHIBIT

  EE.

          66.     Further evidence of the harm suffered by Plaintiff as a direct result of Defendant

  TWITTER’s false statements is that the Plaintiff had to close his business.

          67.     Defendant TWITTER seemingly makes policy decisions based on whether the topic

  impacts a more liberal-leaning topic versus a more conservative-leaning topic which includes, but is

  certainly not limited to: (a) New York Times article, “Long-Concealed Records Show Trump’s

  Chronic Losses and Years of Tax Avoidance,” published on September 27, 2020 (article attached as

  EXHIBIT FF); (b) The Guardian article, “US Police and Public Officials Donated to Kyle

  Rittenhouse, Data Breach Reveals,” published on April 16, 2021 (article attached as EXHIBIT GG);


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  USA Today article, “Insurrection Fundraiser: Capitol Riot Extremists, Trump Supporters Raise

  Money for Lawyer Bills Online,” published on March 27, 2021 (article attached as EXHIBIT HH);

  (d) false identification and doxing of Mr. Peter Weinberg for alleged assault of young girl handing

  out BLM flyers on Capital Crescent Trail in Bethesda (article about the doxing allowed by

  Defendant attached as EXHIBIT II); (e) NY Post article, “Marxist BLM Leader Buys $1.4 Million

  Home in Ritzy LA Enclave,” published April 10, 2021 (copy of article attached as EXHIBIT JJ); (f)

  doxing of Sam Johnson, CEO of VisuWell, for allegedly harassing a teen for wearing a dress (doxing

  also includes the name of his spouse, Jill Johnson, who was not involved in the incident) (copy of

  doxing tweet by Kathy Griffin attached as EXHIBIT KK); (g) allowing racial slur “#uncletim” in

  reference to Senator Tim Scott to “trend” before blocking the trend as a result of backlash (copy of

  article attached as EXHIBIT LL); and (h) false identification of retired firefighter, David Quintaville,

  as being an active participant in the Capitol insurrection (copy of article attached as EXHIBIT MM).

          68.     Based on what seems to be a selective enforcement of its policies, upon information

  and belief, Defendant TWITTER acted with malicious intent to harm the Plaintiff by publishing the

  defamatory statement.

          69.     Alternatively, upon information and belief, Defendant TWITTER was grossly

  negligent in publishing the defamatory statement about the Plaintiff.

          70.     Defendant TWITTER knew or should have known that its publication that the NY

  POST’s story contains hacked materials would cause harm to the Plaintiff, the identified source of

  the information.

                C. COUNT 1: DEFAMATION AND DEFAMATION PER SE

          71.     Plaintiff incorporates by reference all allegations contained in Paragraphs 1 – 70.

          72.     Defendant TWITTER, through its social media platform, has published false and

  defamatory statements concerning Plaintiff without privilege to do so.


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           73.      The false and defamatory statements included, but are not limited to, allegations

  that:5

                 a. the information published by NY POST, which originally came from the Plaintiff,

                    constitutes hacked materials thereby identifying the Plaintiff as a hacker;

                 b. the Plaintiff may have put people in physical harm;

                 c. the Plaintiff may have put people in danger;

                 d. the Plaintiff may have violated trade secret laws

           74.      The defamatory statements made by Defendant TWITTER were made negligently;

  without reasonable care as to their truth or falsity; with knowledge of their falsity; and/or with

  reckless disregard for the truth.

           75.      The defamatory statements made by Defendant TWITTER were published without

  privilege to third parties, including, upon information and belief, thousands (or more) of Florida

  residents.

           76.      The Plaintiff is not a public figure, nor is he a limited public figure for purposes of

  defamation analysis.

           77.      Defendant TWITTER’s statements allege that Plaintiff committed crimes including

  (but not limited to) computer hacking of the son of Democratic Party nominee, now President,

  Joseph Biden, thereby implying that Plaintiff was part of an attempt to undermine American

  democracy and the 2020 Presidential election.

           78.      Defendant TWITTER’s statements are of the kind that would tend to, and in fact

  did, prejudice the Plaintiff in the eyes of a substantial and respectable minority of his profession and

  the community at large, including those located in Florida.




  5 See Footnote 5 on pages 7 and 8 of this Amended Complaint.


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           79.      Upon information and belief, Defendant TWITTER made the false statements

  about Plaintiff with the malicious intent to harm the Plaintiff or, alternatively, with reckless disregard

  for the harm the false statements would cause to the Plaintiff.

           80.      Defendant TWITTER, through its social media platform, published and/or

  communicated the falsehoods to third parties.

           81.      Defendant TWITTER knew or should have known such false statements would

  likely result in material and substantial injury to Plaintiff and his business practices, as the statements

  call into question the security and proper operation of Plaintiff’s business. Additionally, the above

  statements have subjected and continue to subject the Plaintiff to distrust, scorn, ridicule, hatred,

  and contempt. As such, the defamatory statements constitute defamation per se.

           82.      Defendant TWITTER’s false statements impute to the Plaintiff conduct,

  characteristics, and/or conditions incompatible with the proper exercise of Plaintiff’s lawful

  business, trade, and/or profession, and that Plaintiff has committed an infamous crime 6.

           83.      As a direct and proximate result of the defamatory statements made by Defendant

  TWITTER, Plaintiff has suffered, and continues to suffer, substantial damages.

           84.      Upon information and belief, Defendant TWITTER intended to harm the Plaintiff

  with the false statements.

           85.      Based on the statements made by Defendant TWITTER and DORSEY, supra, upon

  information and belief, Defendant TWITTER had actual knowledge of the wrongfulness of their

  conduct and understood the high probability that injury or damage would result to Plaintiff and,

  despite such knowledge, have issued no retraction or rehabilitation of Plaintiff such as would repair

  that damage. Accordingly, and in conformity with Florida Statute §768.72, Plaintiff will seek leave of



  6 See generally Florida Statutes Chapter 815 “Computer Related Crimes”. Computer-related crimes carry felony charges

  in Florida.

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  Court to seek an award of punitive damages against Defendant. In the alternative, Plaintiff will seek

  leave of court to seek punitive damages under Florida Statute §768.72 because Defendant

  TWITTER’S actions, as described above, were so reckless or wanting in care that they constituted a

  conscious disregard or indifference to the rights of Plaintiff.

          86.     Plaintiff has suffered special damages including but not limited to educational

  expenses, due to losing his old career and requiring retraining, in the current amount of $2,621,11.

  An invoice for tuition costs attached as EXHIBIT NN.

                                                Prayer for Relief

          WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment against the

  Defendants as follows:

          (a)     Awarding Plaintiff all compensatory damages including consequential and incidental

  damages as a result of Defendant TWITTER’s wrongdoing in an amount to be determined at Trial;

  and Plaintiff reserves the right to seek leave of Court to seek punitive damages against Defendant

  TWITTER in accordance with the facts and claims stated herein and established through discovery.

          (b)     Awarding Plaintiff all attorneys’ fees and costs associated with litigating this case.

          (c)     Requiring Defendant TWITTER to make a public retraction of all false statements

  and to issue a public apology to Plaintiff.

          (d)     Such further relief as this Court deems just and proper.

                                     D. DEMAND FOR A JURY TRIAL

         Plaintiff prays for a Jury Trial on all issues so triable.




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 Respectfully submitted this 10th day of May, 2021,


  /s/ Brian R. Della Rocca                             /s/ Wesley R. Harvin II
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